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UNITED STATES DISTRICT COURT
FOR 'I`HE DISTRICT OF PUERTO RICO

 

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0 .C~ g 3 rcr-§
LILLIAM MALDoNADo-CORDERO, er al., §5-°°§ g m
Piainaffs § <e ¢" §
§ aaa ':: C"
"'“ ‘r“i
vs. CIVIL No. 98~2386§*15¥n ‘~‘ §
213 § 0
AT&T, er ai., §§,-§ "' §
Defendants ` “'{ r>ré z lC>
oRDER
MoTloN l RULING

Date Filed: July 12, 2000; July 19, 2000 NOTED. The Court NOTES that Det`endants stated that they did !

' Docket #: 160, 164 not receive copies of Plaintiffs’ opposition to the motion for

' [X] Plffs [X] Defts summary judgment on July 8, 2000, but that Plaintiffs presented
evidence that the same was mailed at 12:44 a.m. on July 8, 2000,

and that delivery Was attempted by not carried out on July 8,

2000 because there Was no one in Defendants’ offices to receive

the package The Court also WARNS the parties against

precipitously filing motions aimed at discrediting the other party

in the eyes of the Court, wasting the time of this Court and all the
7 parties involved The filing of frivolous motions is sanctionable _

7 Date Filed: July 13, 2000 DENIED. The Court NOTES that De:t`endants have in their

Docket #: 161 possession a copy of Plaintiffs’ opposition, but DENIES leave to
[] Plffs [X] Defts file a reply.

Title: Notice to the Court; Plaintiffs’
Informative Motion Regarding Mailing
of Opposition to Summary Judgment
and Supporting Documents

Title: Notice to the Court and Motion
for Leave to File a Reply to Plaintiffs’
Opposition to Defendants’ Motion for
Summa Jud ent

       
   

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6 0 0 JA E PIERAS, JR.
Date: 7 2 U.S. Senior District Judge

 

Rec’d: EOD:

 

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